             Case 5:05-cr-00342-RMW          Document 35      Filed 04/14/06      Page 1 of 2



1    KEVIN V. RYAN (CABN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVABN 0722)
3    Chief, Criminal Division
4    JOHN N. GLANG (GUAMBN 94012)
     Assistant United States Attorney
5
         150 Almaden Boulevard, Suite 900
6        San Jose, California 95113
         Telephone: (408)-535-5084
7        Fax: (408)-535-5066
8    Attorneys for Plaintiff
9
                                      UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11
                                            SAN JOSE DIVISION
12                                                                     *E-FILED - 4/14/06*
13
     UNITED STATES OF AMERICA,                   )       No. CR 05-00342-RMW
14                                               )
                               Plaintiff,        )
15                                               )       STIPULATION AND ORDER
                      v.                         )       RESCHEDULING SENTENCING
16                                               )       HEARING
     DANIEL ZUNIGA REYES,                        )
17                                               )
                               Defendant.        )
18                                               )
19
             IT IS HEREBY STIPULATED between the parties and based upon such stipulation it is
20
     hereby ordered, that the defendant’s sentencing hearing, currently scheduled for Monday, April 3,
21
     2006 at 9:00 a.m. be continued and a new sentencing hearing date of Monday, June 19, 2006 at
22
     9:00 a.m. is hereby set.
23
24
     It is so stipulated.
25
     Dated: March 20, 2006                               ________/s/______________________
26                                                       JOHN N. GLANG
                                                         Assistant U.S. Attorney
27
28


     STIPULATION AND ORDER RESCHEDULING SENTENCING HEARING
     CR 05-00342-RMW
             Case 5:05-cr-00342-RMW         Document 35      Filed 04/14/06   Page 2 of 2



1    It is so stipulated:
2    Dated: March 20, 2006                               _____/s/__________________________
                                                         ALEX REISMAN
3                                                        Attorney for Daniel Zuniga Reyes
4
5    It is so ORDERED:
6             4/14/06
     Dated: ________________                              /s/ Ronald M. Whyte
                                                         ________________________________
                                                         RONALD M. WHYTE
7                                                        United States District Judge
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     STIPULATION AND ORDER RESCHEDULING SENTENCING HEARING
     CR 05-00342-RMW                                 2
